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                              UNITED STATES DISTRICT CO                       FILED
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                            SOUTHERN DISTRICT OF CALIFO                                       "




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                                                                    Q  ...c.t.e.ffK, u.s. OISTRICT COURT
UNITED STATES OF AMERICA,                         CASE NO.l1CR50    B~l:RN OISTRICT             F CALIFORNIA
                                                                    BY                               OEPUTY
                              Plaintiff,
                    vs.                           JUDGMENT OF DISMISSAL
DELIO DARIO ELIAS-RUIZ (1),

                              Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

-X­   the Court has granted the motion of the Government for dismissal; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

-X­   of the offense(s) on the Information of:



      8: 1324(a)(2)(B)(iii); 18:2

              IT IS THEREFORE




 DATED: 11/17/11


                                                  UNITED STATES MAGISTRATE JUDGE




                                                  ENTERED ON
